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Court Explorer

Case Details

i Case Summary

Case Number

2024-207837-CB

Entitlement

RILLEMA KURT vs. HARVEY BEAUREGARD MAXIMILLIAN
Judge Name

MICHAEL WARREN

Case E-Filed
YES
Case Filed
06/06/2024
Case Disposed
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Parties
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Party Type Party name Bar # Attorney
Plaintiff - 0003 NONE 85017 ERIK HENNING,JOHNSON,
Plaintiff - 0002 FIVE TWENTY TWO 43985 MICHAEL D.,WEAVER,
REYNOLD
Plaintiff - 0001 RILLEMA KURT 43985 MICHAEL D.,WEAVER,
Defendant - HARVEY 99999
0001 BEAUREGARD

MAXIMILLIAN
